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11                                UNITED STATES DISTRICT COURT
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                                 NORTHERN DISTRICT OF CALIFORNIA
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                                     SAN FRANCISCO DIVISION
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     SONOS, INC.,                                Case No. 3:20-cv-06754-WHA
15                                               Related to Case No. 3:21-cv-07559-WHA
                    Plaintiff,
16                                               [PROPOSED] ORDER GRANTING
           vs.                                   GOOGLE’S UNOPPOSED
17                                               ADMINISTRATIVE MOTION TO
18 GOOGLE LLC,                                   EXTEND DEADLINES FOR MOTION
                                                 FOR ATTORNEYS’ FEES AND BILL OF
19                  Defendant.                   COSTS AS AMENDED

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                                                                 Case No. 3:20-cv-06754-WHA
          [PROPOSED] ORDER GRANTING GOOGLE’S UNOPPOSED ADMINISTRATIVE MOTION TO EXTEND
                              DEADLINES FOR MOTION FOR ATTORNEYS’ FEES AND BILL OF COSTS
      Case 3:20-cv-06754-WHA Document 872 Filed 10/21/23 Page 2 of 2




1          Plaintiff Google LLC (“Google”) has filed an unopposed administrative motion to extend

2 the deadline for its motion for attorneys’ fees pursuant to 28 U.S.C. § 285 and bill of costs. Having

3 considered Google’s Administrative Motion and good cause having been shown, the Court

4 GRANTS Google’s Administrative Motion and extends the deadline for Google to file its motion

5 for attorneys’ fees and bill of costs to November 7, 2023, at noon.
6          The Court invites a stipulation that any fees motion will be made only after all appellate

7 review is exhausted. A bill of costs, however, must be filed within the deadline set above.

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9           IT IS SO ORDERED.

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11   DATED: October 21, 2023.

12                                                   The Honorable William Alsup
                                                     United States District Court Judge
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                                                                 Case No. 3:20-cv-06754-WHA
          [PROPOSED] ORDER GRANTING GOOGLE’S UNOPPOSED ADMINISTRATIVE MOTION TO EXTEND
                              DEADLINES FOR MOTION FOR ATTORNEYS’ FEES AND BILL OF COSTS
